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Plaintl'ff

VS.
CF{. NO. 04-20483-B

T||VlOTHY JOHNSON,

Defendant.

 

oRDER ON cONTlNuANcE AND sPEClFYlNG PERioo oF Exci_quBLE DELAY
AND SETT|NG

 

This cause came on for a report date on Apri| 25, 2005. At that time, counsel forthe
defendant requested a continuance of the |Vlay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with arem
date of Tuesdav, |V|av31. 2005. at 9:30 a.m.. in Courtroom 1, 11th Floor of the Federa|
Building, l\/lemphis, TN.

The period from i\/lay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

iris so oRDEsEo this 24 day rii, 2005.

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J DA iEi_ BREEN \
l o sTATEs DisTRicT JuDGE

 

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This notice confirms a copy of the document docketed as number 32 in
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Honorable J. Breen
US DISTRICT COURT

